                            Case 2:18-cv-00273-CW Document 1 Filed 03/30/18 PageID.1 Page 1 of 1
.rs 44 (Rev. 06/17)                                                                   CIVIL COVER SHEET
The .JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the .Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (.~t:li !NS?RlKT!ONS ON N/:~'<7' PAG/i OF Tl-l!S FORM.)
I. (a) PLAINTIFFS                                                                                                             DEFENDANTS
 MARIA E. WINDHAM, as Receiver for MARQUIS PROPERTIES LLC, et                                                               KORY BOYD, an individual, and RAKOR, LLC, a Utah limited liability
 al                                                                                                                         company,
    (b) County of Residence of First Listed Plaintiff ~S~a_lt_L~a~k~e_______                                                 County of Residence of First Listed Defendant ~U_ta~h~-------­
                                      (liXCE/'7' IN U.S. PIAIN1'!FF CAS!iS)                                                                           (/N U.S. P/,A!N7/FF CAS/:'S ONLY)
                                                                                                                              NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                          THE TRACT or LAND INVOLVED.

   (C) Attorneys (Firm Name, Address, and Telephone Number)                                                                  Attorneys (!(Known)
 Andrew G. Deiss 10 W 100 S Ste 425                                                                                         Randall Heiner, esq.
 Wesley D. Felix       Salt Lake City, UT 84101                                                                             213 8th Ave
 Deiss Law PC          801.433.0226                                                                                         Salt Lake City, UT 84103

II, BASIS OF JURISDICTION (!'lace an "X" in One Box Only)                                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                              "X" in one Boxfiir Plaintiff
                                                                                                                         (For /Jivers/ly Case,, Only)                                             and One Boxfiir Defimdanl)
0 I       U.S. Government                    ~ 3     Federal Question                                                                                PTF          DEF                                             PTF       DEF
             Plaintiff                                 (U.S. Ciovernmenl Nol a i'arly)                             Citizen ofThis State              OJ( I        CiJ(   I   Incorporated or Principal Place       0 4      0 4
                                                                                                                                                                               of Business In This State

0 2 U.S. Government                          0 4     Diversity                                                     Citizen of Another State            0 2        0      2   Incorporated and Principal Place       0 5      0 5
       Defendant                                       (lndicale Cilizenship of l'arlies in //em///)                                                                            of Business In Another State

                                                                                                                   Citizen or Subject ofa              0 3        0      3   Foreign Nation                         0 6      0 6
                                                                                                                     Forei •n Counn
IV. NATURE OF SUIT (Place an                           "X" in One Box Only)
            .Cdlll R. Cf ·                                                    TORXS
0   110 Insurance                              PERSONAL INJURY                    PERSONAL IN.JURY                 0 625 Drug Related Seizure               0 422 Appeal 28 USC 158    0 375 False Claims Act
0   120 Marine                             0   310 Airplane                     0 365 Personal Injury ·                  of Prope1ty 21 USC 881             0 423 Withdrawn!           0 376 Qui Tam (31 USC
0   130 Miller Act                         0   315 Airplane Product                   Product Liability            0 690 Other                                    28 USC 157                 3729(a))
0   140 Negotiable Jnsn·ument                       Liability                   0 367 Health Care/                                                                                     0 400 State Reapportionment
0   150 Recove1y of Overpayment            0   320 Assault, Libel &                   Pharmaceutical                                                       t::mlmm£iill'.JWl~i:§:=:::J 0 410 Anti mist
        & Enforcement of Judgment                   Slander                           Personal lnju1y                                                       0 820 Copyrights           0 430 Banks and Banking
0   151 Medicare Act                       0   330 Federal Employers'                 Product Liability                                                     0 830 Patent               0 450 Commerce
0   152 Recovery of Defaulted                       Liability                   0 368 Asbestos Personal                                                     0 835 Patent· Abbreviated  0 460 Depo1tation
        Student Loans                      0   340 Marine                              lnjmy Product                                                                                   0 470 Racketeer Influenced and
        (Excludes Veterans)                n   345 Marine Product                       I ,iability                                                                                                     Corrupt Organizations
0   153 Recove1y of Overpayment                     Liability                    PERSONAL PROPERTY                ~I===:l;A\lmi[::;;:;::::~~!i~mrfil:mw~:::::i 0                                  480 Consumer Credit
        of Veteran's Benefits              0   350 Motor Vehicle                0 370 Other Fraud                                0 710 Fair Labor Standards 0 861 HIA (1395ff)                0 490 Cable/Sat TV
0   160 Stockholders' Suits                0   355 Motor Vehicle                0 371 Trnth in Lending                                   Act                0 862 Black Lung (923)            I)( 850 Securities/Commodities/
0   190 Other Conn·act                             Prnduct Liability            0 380 Other Personal                             0 720 Labor/Management     0 863 DIWC/DIWW (405(g))                  Exchange
0   195 Contract Product Liability                            0
                                               360 Other Personal                     Property Damage                                    Relations          0 864 SSID Title XVI              0 890 Other Stan1tmy Actions
0   196 Franchise                                  lnjmy                        0 385 Prope1ty Damage                            0 740 Railway Labor Act    0 865 RSI (405(g))                0 891 Agricultllral Acts
                                               362 Personal lnjmy •
                                                              0                       Product Liability                          0 751 Family and Medical                                     0 893 Environmental Matters
                                                   Medical Mal ractice                                                                   Leave Act                                            0 895 Freedom of lnfonnation
                                                                                                                                                           --F~E-<·D_E_R_A--T-A-x-su-IT_S_ _,         Act
..__ _,:.iR:.:;'::::A~LwP'-.!Ro>:O.,.P:.,.'E"'iRo:.T,_.Y.:.__4-~C:A;l:Y;r.I:..tL"-Rul:.:G~lJ~X,_\~--l--'l'~~=~"-.!l~Ul>WJ;!..o.! 0 790 Other Labor Litigation
 0 210 Land Condemnation                                      0 440 Other Civil Rights             Habeas Corpus:                0 79 I Employee Retirement       0 870 Taxes (U.S. Plaintiff    0 896 Arbitration
 0 220 Foreclosure                                            0 441 Voting                     0 463 Alien Detainee                     Income Security Act             or Defendant)            0 899 Administrative Procedure
 0 230 Rent Lease & Ejectment                                 0 .442 Employment                0 510 Motions to Vacate                                            0 871 IRS-Third Pmty                 Act/Review or Appeal of
 0 240 Torts to Land                                          0 443 Housing/                           Sentence                                                         26 USC 7609                    Agency Decision
 0 245 Tort Product Liability                                         Accommodations           0 530 General                                                                                     0 950 Constitutionality of
 0 290 All Other Real Property                                0 445 Amer. w/Disnbilities • 0 535 Death Penalty                          JM.IGMTlON                                                     State Statutes
                                                                      Employment                   Other:                        0 462 Naturalization Application
                                                              0 446 Amer. w/Disabilities • 0 540 Mandamus & Other 0 465 Other Immigration
                                                                      Other                    0 550 Civil Rights                       Actions
                                                              0 448 Education                  0 555 Prison Condition
                                                                                               0 560 Civil Detainee.
                                                                                                       Conditions of
                                                                                                       Confinement
V, 0 RIG IN (Place an "X" in One /3ox Only)
~    I Original               0 2 Removed from                      0     3     Remanded from               0 4 Reinstated or            0 5 TrnnsfetTed from                0 6 Multidistrict             0 8 Multidistricl
       Proceeding                 State Court                                   Appel late Court                Reopened                     Another District                    Litigation •                  Litigation·
                                                                                                                                G'pecifj>)                            Transfer                                Direct File
                                                 Cite the U.S. Civil Statute under which you are filing (Do 110/ clteJ11rlsdictlonal statutes 1111/es,,- dlvers/(J>):
 VI. CAUSEOFACTION~2~8~U~S~C~7~5~4~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
                                                Brief description of cause:
                                                 Fraudulent Transfer Act - Ancilla suit to SEC action a ainst Mar uis Pro erties
 VII. REQUESTED IN                              0 CHECK IF THIS IS A CLASS ACTION           DEMAND$                     CHECK YES only if demanded in complaint:
      COMPLAINT:                                    UNDER RULE 23, F.R.Cv.P.                                            JURY DEMAND:         0 Yes     )."?lNo
 VIII. RELATED CASE(S)
                                                    (See i11.1·1ruction.1):
       IF ANY                                                                   JUDGE           __
                                                                                                 Ji_ll_N_._P_a_ris_h_ _ _ _ _ _ _ _ DOCKET NUMBER 2: 16-cv-00040
 DATE                                                                              SIGNATURE OF ATTORNEY or RECORD
 03/29/2018                                                                       Andrew G. Deiss
 FOR OFFICE USE ONLY
                                                                                                                                               Case: 2: 18-cv-00273
    RECEIPT#                           AMOUNT                                           APPLYING IFP
                                                                                                                                               Assigned To : Pead, Dustin B.
                                                                                                                                               Assign. Date: 3/30/2018
                                                                                                                                               Description: Windham v. Boyd et al
